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               IN THE UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF FLORIDA
                     WEST PALM BEACH DIVISION


     UNITED STATES OF
     AMERICA,

                Plaintiff,

          v.                                    No. 9:23-cr-80101-AMC

     DONALD J. TRUMP,
     WALTINE NAUTA, AND
     CARLOS DE OLIVEIRA.

                Defendants.


          BRIEF FOR AMICI CURIAE IOWA, FLORIDA, WEST
          VIRGINIA, ALABAMA, ALASKA, ARKANSAS, IDAHO,
             INDIANA, KANSAS, KENTUCKY, LOUISIANA,
           MISSISSIPPI, MISSOURI, MONTANA, NEBRASKA,
             NORTH DAKOTA, OHIO, OKLAHOMA, SOUTH
          CAROLINA, SOUTH DAKOTA, TENNESSEE, TEXAS,
             UTAH, AND WYOMING OPPOSING SPECIAL
                PROSECUTOR’S MOTION TO MODIFY
                     CONDITIONS OF RELEASE
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                        INTEREST OF AMICI STATES

          Free and fair elections in the United States depend on candidates’

    ability to speak about important issues of the day. Attempts to stop a

    candidate from speaking out harm more than just the candidate. They

    also hurt the voters, who are denied access to crucial information, and

    the States, which are responsible for managing elections. And when

    agents of one candidate seek a court order to muzzle discussion on mat-

    ters relating to important electoral issues, that restraint raises even

    more fundamental First Amendment concerns.

          The States of Iowa, Florida, West Virginia, Alabama, Alaska, Ar-

    kansas, Idaho, Indiana, Kansas, Kentucky, Louisiana, Mississippi, Mis-

    souri, Montana, Nebraska, North Dakota, Ohio, Oklahoma, South Caro-

    lina, South Dakota, Tennessee, Texas, Utah, and Wyoming stand four-

    square behind the protections of the First Amendment of the Constitu-

    tion. Each branch of government, even the judiciary, should be cautious

    about abridging core political speech—especially core political speech re-

    lating to a presidential election. U.S. Const. amend. I. Unfortunately, the

    special prosecutor’s request here does not reflect that caution.




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          The free-speech right is at its strongest when it protects political

    speech. Indeed, “[p]olitical speech . . . is ‘at the core of what the First

    Amendment is designed to protect.’” Morse v. Frederick, 551 U.S. 393, 403

    (2007) (quoting Virginia v. Black, 538 U.S. 343, 365 (2003) (plurality

    opinion)); see also Republican Party of Minn. v. White, 536 U.S. 765, 793

    (2002) (Kennedy, J., concurring) (“The political speech of candidates is

    at the heart of the First Amendment, and direct restrictions on the con-

    tent of candidate speech are simply beyond the power of government to

    impose.”). “Political speech is the primary object of First Amendment pro-

    tection and the lifeblood of a self-governing people.” McCutcheon v. Fed.

    Election Comm’n, 572 U.S. 185, 228 (2014) (Thomas, J., concurring in the

    judgment) (quotation omitted).

          Yet special prosecutor Jack Smith, on behalf of the United States,

    asks this Court to curtail that right by ordering a prior restraint on Pres-

    ident Trump’s constitutionally protected speech. Such an order is pre-

    sumptively unconstitutional. Neb. Press Ass’n v. Stuart, 427 U.S. 539, 558

    (1976). If granted, this request would prevent the presumptive Republi-

    can nominee for President of the United States from speaking out against

    “the prosecution and the criminal trial process that seek to take away his


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    liberty.” United States v. Trump, 88 F.4th 990, 1008 (D.C. Cir. 2023).

    That prosecution, of course, is led by a Department that President

    Trump’s political opponent controls.

          As administrators of free and fair elections, the Amici States have

    an interest in ensuring no illegal prior restraint is entered against any

    major political candidate. Our citizens have an interest in hearing from

    major political candidates in the upcoming presidential election. With

    these interests in mind, the Amici States believe that this Court should

    not order a restriction on President Trump’s speech.

          Accordingly, the Amici States file this brief in support of President

    Trump and ask this Court to deny the United States’ motion to amend

    his conditions of release.

                         SUMMARY OF ARGUMENT

          President Donald Trump is the presumptive Republican nominee

    for President of the United States and is being prosecuted by a Depart-

    ment controlled by his chief political rival and presumptive opponent in

    this fall’s election, President Joe Biden. But attempting to take away

    President Trump’s liberty is seemingly not enough. The Administration

    now also seeks to silence him from criticizing the prosecution. The



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    government’s request is an unprecedented assault on President Trump’s

    First Amendment rights, as well as on the American people’s essential

    reciprocal right to hear what he has to say about the most heated political

    issue of the day.

          Although President Trump is also currently a defendant in this

    case, that status does not justify issuing a prior restraint against him.

    Courts no doubt must ensure that they “take such steps by rule and reg-

    ulation that will protect their processes from prejudicial outside interfer-

    ences.” Sheppard v. Maxwell, 384 U.S. 333, 363 (1966). But criticism of

    how an investigation or prosecution is proceeding should not be enough

    to trigger such steps.

          For several reasons, the United States’ request is unjustified.

          First, the federal government’s request for a prior restraint is vague

    and overbroad. It asks the district court to gag President Trump from

    making “statements that pose a significant, imminent, and foreseeable

    danger to law enforcement agents participating in the investigation and

    prosecution of this case.” Gov’t’s Mot. at 1, ECF No. 592. But it does not

    explain what those statements may be. Judging from what the special

    prosecutor deems to be “threats” in his motion, it is fair to infer that


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   covered statements could include any criticism of the prosecution team

   in this case. But that request captures “core political speech entitled to

   the strongest form of First Amendment protection.” Trump, 88 F.4th at

   1022.

           Second, the federal government cannot meet the heavy burden re-

   quired for a prior restraint. Restricting speech about ongoing judicial pro-

   ceedings requires a “clear and present danger to the administration of

   justice.” Landmark Commc’ns, Inc. v. Virginia, 435 U.S. 829, 844 (1978).

   The special prosecutor cannot make that showing because he has not

   demonstrated that President Trump’s comments have threatened law en-

   forcement or that his comments have resulted in threats to law enforce-

   ment.

           Third, the presidential campaign is in full swing. As Americans

   turn their attention to the upcoming presidential election, courts should

   take special care to ensure voters can judge the candidates on their own

   merits. A prior restraint that might limit a candidate’s ability to cam-

   paign must meet exacting standards. The proposed order here would not

   meet those standards.




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                                 ARGUMENT

   I.    The request for a prior restraint is vague and overbroad.

         The request for a prior restraint is vague and overbroad. If the

   Court were to enter it, it would certainly invite only more complications

   and headaches in an already challenging case.

         The federal government asks the district court to gag President

   Trump from making “statements that pose a significant, imminent, and

   foreseeable danger to law enforcement agents participating in the inves-

   tigation and prosecution of [his] case.” Gov’t’s Mot. at 1, ECF No. 592.

   But what are those statements? The federal government does not ex-

   plain.

         That’s reason enough alone to deny the request. Generally, orders

   that could give rise to punitive sanctions should be “clear, definite, and

   unambiguous in requiring . . . action.” United States v. Parker, 696 F.

   App’x 443, 447 (11th Cir. 2017) (cleaned up); see also 18 U.S.C.

   § 3142(h)(1) (requiring that pretrial release conditions be “sufficiently

   clear and specific to serve as a guide for the person’s conduct”). But the

   special prosecutor’s proposed order fails that test, as President Trump

   would be left to guess how third parties might respond to even the most



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   innocuous statements about his case. Worse still, he would likely be com-

   pelled to “steer far wider of the unlawful zone than if the boundaries of

   the forbidden area were clearly marked.” Grayned v. City of Rockford,

   408 U.S. 104, 109 (1972) (cleaned up).

         Reading between the lines, the federal government’s request

   sweeps too broadly. The special prosecutor identifies no comments by

   President Trump that facially “pose a significant, imminent, and foresee-

   able danger to law enforcement agents.” Gov’t’s Mot. at 1, ECF No. 592.

   It is not alleged, for instance, that he called for violence or targeted spe-

   cific individuals. Rather, the special prosecutor points to general criti-

   cisms President Trump has made regarding the United States’ seizure of

   evidence from his private residence. The special prosecutor thus argues

   that any comment the former President may make about the prosecution

   and investigation could potentially “pose a significant, imminent, and

   foreseeable danger” to them. Id.

         That reasoning does not pass constitutional muster. Criminal de-

   fendants “have a greater constitutional claim than other trial partici-

   pants to criticize and speak out against the prosecution and the criminal

   trial process that seek to take away his liberty.” Trump, 88 F.4th at 1008;


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   see also Gentile v. State Bar of Nevada, 501 U.S. 1030, 1034 (1991)

   (“[S]peech critical of the exercise of the State’s power,” including speech

   concerning purported “police corruption,” “lies at the very center of the

   First Amendment.”). And President Trump’s comments about the seizure

   of evidence from his private residence that led to his indictment is a

   prime example of that type of protected speech. Indeed, one of the most

   important public debates during this process has been the role of the jus-

   tice system and its potential weaponization to target political opponents.

   See Brett L. Tolman, Trump trial shows the ominous evolution of our

   criminal justice system. Who’s next?, Fox News (June 6, 2024), https://

   perma.cc/D7TH-RZ8E; Charlie Savage, Convictions of Biden’s Son and

   Trump Put the Justice System on Trial, N.Y. Times (June 11, 2024),

   https://perma.cc/7744-7944. To the extent the government is genuinely

   concerned with real threats to its personnel, this order would go far be-

   yond the narrow circumstances in which it can be assumed that speech

   will give rise to genuine danger.

         Granting the request would place a thumb on the political scale and

   turn standard protections for criminal defendants on their head. See 18

   U.S.C. § 3142(c)(1)(B) (requiring that pretrial release conditions be the


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   “least restrictive” means of achieving the statutory objectives). Other

   candidates and their supporters will be free to characterize and attack

   President Trump relating to this investigation and prosecution. He, how-

   ever, would not be able to directly respond without fear of incurring a

   contempt sanction (or worse) for violating a gag order. Silencing one side

   of a contentious political debate would turn the First Amendment on its

   head.

   II.     The special prosecutor cannot meet the heavy burden re-
           quired for a content-based prior restraint.

           “[G]ag orders warrant a most rigorous form of review because they

   rest at the intersection of two disfavored forms of expressive limitations:

   prior restraints and content-based restrictions.” In re Murphy-Brown,

   LLC, 907 F.3d 788, 796–97 (4th Cir. 2018). “[P]rior restraints on speech

   and publication are the most serious and the least tolerable infringement

   on First Amendment rights.” Nebraska Press, 427 U.S. at 559. Restricting

   speech about ongoing judicial proceedings thus requires a “clear and pre-

   sent danger to the administration of justice.” Landmark, 435 U.S. at 844.

   Indeed, Nebraska Press rejected prior restraints imposed on press cover-

   age of a high-profile murder trial—even at the risk of prejudicing a small-

   town jury pool. 427 U.S. at 561–62.

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         Given the serious disfavor towards such restrictive orders, the

   party seeking one pending a criminal trial bears “the heavy burden of

   demonstrating, in advance of trial, that without prior restraint a fair trial

   will be denied.” Id. at 569. When the record lacks “evidence to support”

   such an order, the order should not issue and will not be upheld. Id. at

   565; see Landmark, 435 U.S. at 843.

         In holding the already-narrowed restraint in Nebraska Press un-

   constitutional, the Supreme Court set forth three factors governing

   whether a prior restraint is justified: (1) whether the publicity would “im-

   pair the defendant’s right to a fair trial;” (2) whether “measures short of

   an order” of restraint might have impaired a fair trial; and (3) whether

   the restraint would be effective in ensuring a fair trial. 427 U.S. at 562–

   65. The Court could not determine there “that the restraining order ac-

   tually entered would serve its intended purpose.” Id. at 569. It held that

   the record did not demonstrate “the degree of certainty our cases on prior

   restraint require.” Id. The Court concluded that while “the guarantees of

   freedom of expression are not an absolute prohibition under all circum-

   stances[,] . . . the heavy burden imposed as a condition to securing a prior

   restraint was not met.” Id. at 570.


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         The Sixth Circuit, too, employed the “clear and present danger” test

   when considering whether a politician-defendant could express himself

   outside the courtroom. United States v. Ford, 830 F.2d 596, 598 (6th Cir.

   1987). That “defendant, a Democrat,” was “entitled to attack the alleged

   political motives of the Republican administration” he claimed was “per-

   secuting him because of his political views and his race.” Id. at 600–01.

   The Sixth Circuit recognized that “separation of powers—a unique fea-

   ture of our constitutional system designed to insure that political power

   is divided and shared—would be undermined if the judicial branch

   should attempt to control political communication between a congress-

   man and his constituents.” Id. at 601. A politician’s role “includes com-

   munications with the electorate.” Id. (citing United States v. Brewster,

   408 U.S. 501, 524 (1972)); see also, e.g., United States v. Carmichael, 326

   F. Supp. 2d 1267, 1294 (M.D. Ala. 2004) (applying a “serious and immi-

   nent threat” standard to a gag order that “would burden only the de-

   fense”); Wilson v. Moore, 193 F. Supp. 2d 1290, 1291 (S.D. Fla. 2002) (ex-

   plaining that the “clear and present danger” standard applies to gag or-

   ders against defendants).




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         Here, the special prosecutor argues that President Trump’s “mis-

   characterization” of facts surrounding the seizure of evidence from his

   private residence “has endangered law enforcement officers” and “threat-

   ened the integrity of the[] proceedings.” Gov’t’s Mot. at 11, ECF No. 592.

   But that reasoning does not justify curtailing his protected speech for

   three reasons.

         First, the special prosecutor has not shown that President Trump’s

   comments are a “mischaracterization” of the circumstances involving the

   execution of the search warrant at his private residence. Indeed, there

   were “[m]onths of disputes between the Justice Department prosecutors

   and FBI agents over how best to try to recover classified documents from

   [President] Trump’s Mar-a-Lago club.” Carol D. Leonnig et. al., Show-

   down before the raid: FBI agents and DOJ prosecutors argued over

   Trump, Wash. Post (Mar. 1, 2023), https://perma.cc/TKB2-H42P. Presi-

   dent Trump is justified in questioning the FBI’s decision to engage in the

   raid—questions that were raised by senior FBI officials as well. And Pres-

   ident Trump is justified in highlighting that the raid invoked the FBI’s

   use-of-force policy rather than taking an approach that would not have

   needed such authorization.


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         In arguing otherwise, the special prosecutor resorts to unsupported

   insinuation. President Trump has never said, for instance, that “federal

   law enforcement agents . . . were complicit in a plot to assassinate him.”

   Gov’t’s Mot. at 1, ECF No. 592. Likewise, the special prosecutor says that

   an “armed attack . . . was carried out by one of [President Trump’s] sup-

   porters in the wake of Trump’s Truth Social statements” on the raid, id.

   at 8—implying, without any evidence at all, that President Trump is to

   blame for the actions of a man who was already “known to the FBI.” Paul

   P. Murphy et al., Account bearing Ohio FBI standoff suspect’s name en-

   couraged violence against the agency in posts on Trump social media plat-

   form, CNN (Aug. 12, 2022), https://bit.ly/3VcTGqF. And he alleges that

   President Trump’s perspective on the raid already “has endangered law

   enforcement officers,” but he offers not one single example of a person

   who faced danger from the statements at issue. Gov’t’s Mot. at 11, ECF

   No. 592 (emphasis added).

         In any event, precluding President Trump from discussing the

   terms of the authorized raid on his residence is improper. Indeed, Presi-

   dent Trump’s ability to question the federal government’s motive behind

   the search is an essential part of speaking out “against the prosecution


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   and the criminal trial process that seek to take away his liberty.” Trump,

   88 F.4th at 1008. Nothing in the record shows that President Trump

   made “intentionally false and inflammatory statements” regarding the

   search. Gov’t’s Mot. at 1, ECF No. 592. It is essential that he be able to

   “voice his opinion” about how those who served in “high-level government

   positions . . . performed their public duties.” Trump, 88 F.4th at 1022.

         Second, President Trump’s speech did not endanger law enforce-

   ment officials. The special prosecutor argues that President Trump’s crit-

   icism of the search of his private residence invites “threats and harass-

   ment” against law enforcement. Gov’t’s Mot. at 3, ECF No. 592. But he

   offers no evidence of actual threats that have emerged since President

   Trump’s commentary on the seizure of evidence from his private resi-

   dence. See Trump, 88 F.4th at 1027 (noting that the First Amendment

   does not protect “true threats”). It is not even clear how such threats

   could arise given that the identities of the persons involved in the raid

   are largely not public. Hypothetical and conjectural threats—that is, wor-

   ries—are not enough to show an “obstruct[ion] of the justice process” wor-

   thy of encroaching on President Trump’s core political speech. Id.; see

   also, e.g., In re A Minor, 537 N.E.2d 292, 302 (Ill. 1989) (evidence of


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   “certain threats . . . circulating in the community” was not “sufficient[]”

   to justify a gag order (quotation omitted)).      “Without a significantly

   stronger, more direct connection, the Government may not prohibit

   speech on the ground that it may encourage [others] to engage in illegal

   conduct.” Ashcroft v. Free Speech Coal., 535 U.S. 234, 253–54 (2002) (em-

   phasis added).

         Third, nothing President Trump has said can be construed as direct

   threats towards law enforcement. “‘True threats’ encompass those state-

   ments where the speaker means to communicate a serious expression of

   an intent to commit an act of unlawful violence to a particular individual

   or group of individuals.” Black, 538 U.S. at 359. “[P]olitical hyperbole”

   doesn’t count. Watts v. United States, 394 U.S. 705, 708 (1969). Although

   President Trump will sometimes use colorful rhetoric to communicate his

   intent to fight hard for Americans, he has never threatened the law-en-

   forcement officials involved in this case, nor has he invited others to do

   so. Without evidence of definite “obstruct[ions of] the justice process,” any

   prior restraint like the one proposed by the special prosecutor would un-

   fairly prejudice President Trump and encroach on the public’s interest in

   the fair administration of criminal justice. Trump, 88 F.4th at 1027.


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         Fourth, though the government repeatedly invokes the “integrity of

   the proceedings,” Gov’t’s Mot. at 1, 3, 7, 11, ECF No. 592, it never explains

   with any specificity how President Trump’s comments have endangered

   the judicial process itself. For example, the special prosecutor never of-

   fers proof that the Court will be unable to sit a fair jury because of any

   comments from President Trump. Though he speaks in generalities

   about “messages . . . to potential juries,” id. at 3, voir dire and other tools

   can ferret out any issues with jurors, Murphy-Brown, 907 F.3d at 799;

   see also Stinnett v. Reg’l Transp. Dist., 477 F. Supp. 3d 1187, 1193 (D.

   Colo. 2020) (collecting authorities). Nor does the special prosecutor allege

   (let alone prove) that any comments will sway witnesses or otherwise

   color the evidence. See Fred C. Zacharias & Bruce A. Green, Federal

   Court Authority to Regulate Lawyers: A Practice in Search of A Theory,

   56 Vand. L. Rev. 1303, 1330 (2003) (listing “witness bribery or suborna-

   tion of perjury” as examples of actions that “impact[] . . . the integrity of

   the proceedings”). Merely invoking a platitude cannot be enough to jus-

   tify such a severe restraint on President Trump’s First Amendment

   rights.




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         No evidence shows that any “restraining order actually entered

   would serve its intended purpose.” Nebraska Press, 427 U.S. at 569. The

   request cannot be granted.

   III. Interference with the ongoing presidential election weighs
        against a prior restraint.

         If granted, the special prosecutor’s request will prohibit President

   Trump from discussing major campaign issues during a presidential elec-

   tion year. But “[l]ike any other criminal defendant, Mr. Trump has a con-

   stitutional right to speak,” and “his millions of supporters, as well as his

   millions of detractors, have a right to hear what he has to say.” Trump,

   88 F.4th at 1007. Indeed, the citizens of our States have a right to hear

   from presidential candidates on these important issues—including when

   one of those issues is an ongoing prosecution against that candidate. See

   Pittman v. Cole, 267 F.3d 1269, 1283 (11th Cir. 2001) (describing how a

   listener can be constitutionally injured by his or her “inability to receive

   speech from a willing speaker”).

         Issuing a prior restraint against President Trump here would set

   an unsettling precedent for future political candidates. Political oppo-

   nents and opportunistic litigators may seek to stymie debate by relying

   on whatever order is issued here. Such an outcome would be an

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   unwelcome burden on the democratic process. Even more so when it

   comes to the highest stakes battle in American politics, a presidential

   election.

         Elections are a prime opportunity for elected officials to hear from

   their constituents. Depriving “the electorate . . . of information, know-

   ledge, and opinion vital to its function,” and suppressing “views and view-

   points from reaching the public” in an election violates core First Amend-

   ment principles. Citizens United v. FEC, 558 U.S. 310, 354 (2010)

   (cleaned up). And gagging a candidate means that constituents cannot

   hear how the candidate will reply to a given issue of concern—a concern

   like the weaponization of prosecutorial processes against political oppo-

   nents. Yet the “Constitution’s design . . . leave[s] the selection of the

   President to the people, through their legislatures, and to the political

   sphere.” Bush v. Gore, 531 U.S. 98, 111 (2000) (per curiam).

         To be sure, there are times when a gag order, even of a political

   candidate, may be justified. But this Court need not find the distant

   boundary of when such an order is justified because the facts here do not

   justify such an extraordinary restraint.




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         All Americans are entitled to have their free-speech rights re-

   spected. The presidential election is a key component in our democratic

   republic—one “implicat[ing] a uniquely important national interest.” An-

   derson v. Celebrezze, 460 U.S. 780, 794–95 (1983). A prior restraint on

   one of the major party candidates for President will impede Americans’

   ability to communicate and to receive communication from those who

   might lead an entire branch of the federal government. President Trump

   is being gagged from discussing matters of importance with his constitu-

   ents—and they are being prohibited from learning from those conversa-

   tions about how President Trump proposes to lead. But in the end, a gov-

   ernment may not “censor what the people hear as they undertake to de-

   cide for themselves which candidate is most likely to be an exemplary . . .

   officer. Deciding the relevance of candidate speech is the right of the vot-

   ers, not the [government].” Republican Party, 536 U.S. at 794 (Kennedy,

   J., concurring).

                                CONCLUSION

         The Court should deny the special prosecutor’s request to modify

   President Trump’s conditions of release to restrict his First Amendment

   rights.



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                        CERTIFICATE OF SERVICE

         The undersigned certifies that on the 16th day of June, 2024, this

   brief was electronically filed with the Clerk of Court using the CM/ECF

   system, which will serve all counsel of record.


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